       Case 2:22-cv-04987-DJP-KWR Document 8 Filed 02/03/23 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE: IN THE MATTER OF                                   CIVIL ACTION
LA CARRIERS, LLC AS OWNER AND                             NO. 2:22-cv-04987-LMA-KWR
OPERATOR OF THE M/V KAREN KOBY,
PETITIONING FOR EXONERATION FROM                          SECTION: I
OR LIMITATION OF LIABILITY                                DIVISION: 4

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                       CORPORATE DISCLOSURE STATEMENT
                          OF RIGID CONSTRUCTORS, LLC

       NOW INTO COURT, through undersigned counsel, comes Rigid Constructors, LLC, who,

in accordance with F.R.C.P. 7.1, tenders the following information referable to its corporate

structure:

       No publicly traded company owns 10% or more of the stock of Rigid Constructors, LLC.

Rigid Constructors, LLC has no parent company, and is privately held.

                                                   RESPECTFULLY SUBMITTED:

                                                   BREAUD & MEYERS

                                                   S/Alan K. Breaud
                                                   ____________________________________
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